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1    JOHN R. MANNING (SBN 220874)
     ATTORNEY AT LAW
2    1111 H Street, #204
     Sacramento, CA 95814
3    (916)444-3994
     jmanninglaw@yahoo.com
4
     Attorney for Defendant
5    JAMIE RAMON FUENTES MARTINEZ

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8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            )   Case No.: 2:15 CR 140 MCE
12                                        )
                       Plaintiff,         )   STIPULATION AND ORDER CONTINUING
13                                        )   JUDGMENT AND SENTENCING
     vs.                                  )
14                                        )   Date: August 2, 2018
     JAMIE RAMON FUENTES MARTINEZ,        )   Judge: Hon. Morrison C. England, Jr.
15                                        )   Time: 10:00 a.m.
                       Defendant.         )
16                                        )

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18         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter is presently set for June 7,
20
             2018.   Counsel for the parties request the date for judgment and
21
             sentencing be continued to August 2, 2018 at 10:00 a.m.      Assistant
22
             U.S. Attorney Paul Hemesath has been advised of this request and has
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             no objection.   U.S. Probation has also been advised of this request.
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             The parties request the Court adopt the following schedule
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             pertaining to the presentence report:
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             Judgment and Sentencing date:                                8/2/18
27
             Reply, or Statement of Non-Opposition:                       7/26/18
28
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1              Motion for Correction of the Presentence Report
               Shall be filed with the Court and served on the
2              Probation Officer and opposing counsel no later
               than:                                                       7/19/18
3
               The Presentence Report shall be filed with the
4              Court and disclosed to counsel no later than:               7/12/18

5              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
6              and opposing Counsel no later than:                         7/5/18

7              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:               6/21/18
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10   Dated:   April 5, 2018                       /s/ John R. Manning
                                                  JOHN R. MANNING
11                                                Attorney for Defendant
                                                  Jamie Ramon Fuentes Martinez
12

13   Dated:   April 5, 2018                       McGregor W. Scott
                                                  United States Attorney
14
                                                  by:   /s/ Paul Hemesath
15                                                PAUL HEMESATH
                                                  Assistant United States Attorney
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18                                        ORDER

19        IT IS SO ORDERED.

20   Dated:   April 9, 2018

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